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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
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CIVIL MINUTES - GENERAI fe __JS-5/JS-6
__Clsd __JS-2/5-3
Case No. CV 99-11558-ER(MANx) Date: January 16, 2000

Title: Mattel Inc. a Delaware Corp. -v- Barbara Miller, Dan Miller

PRESENT: HONORABLE EDWARD RAFEEDIE, SENIOR JUDGE

Judy Matthews Mary Tucker
Courtroom Deputy Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS: ATTORNEYS PRESENT FOR DEFENDANTS:
None Present None Present

PROCEEDINGS: ORDER TO SHOW CAUSE FOR POSSIBLE DISMISSAL
FOR LACK OF PROSECUTION

The Court, on its own Motion, hereby ORDERS plaintiff(s) to show cause in writing not later than
1/31/00 why this action should not be dismissed for lack of prosecution. The Court notes that,
absent a showing of good cause, an action shall be dismissed if the summons and complaint have not
been served within 120 days of the filing of the complaint (FRCivP 4j). An action may be dismissed
prior to such time if plaintiff {s) fail{s) to respond to this order.

The Court further notes that defendant(s) answer is to be filed within 20 days {30) out of state,
60 days if the defendant is the United States) (FRCivP 12} of the date of service of the summons and
complaint. Counsel are advised that no stipulations, including those for extensions of time, are
effective unless approved by this Court (except as provided in LR 3.11.1}.

Pursuant to FRCivP 78 and Local Rule 7.11, no ORAL ARGUMENT will be heard on this matter unless
ordered by the Court. The Order to Show Cause will stand aubmitted upon the filing of plaintiffs’

response. The Court will consider as a satisfactory response the filing of the following on or
before the date indicated above:

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SS proof te of service-of —summona—and- comp laint—on-ali—detendants—fPRcive—s)}
x Joint Report of Early Meeting ,
Plaintiff(s) filing an Application for Default (FRCivP S5a)
Plaintiff(s) filing a Motion for Entry of Default Judgment

{FRCivP 55b}

FAILURE TO FILE A TIMELY RESPONSE 1S DEEMED CONSENT TO THE DISMISSAL WITHO
ACTION AS PROPOSED HEREIN. ov

MINUTES FORM 11 Initials of Deputy Clerk
CIVIL -- GEN
